Case 2:19-cr-00028-SPC-MRM Document 3 Filed 02/27/19 Page 1 of 6 PagelD 5

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION

UNITED STATES OF AMERICA case no ol /9- p-B-FAN- 38-N RrYA

v.
16 U.S.C. §§ 3372(a)(2)(A), 3373(d)(1)(B)
MICHAEL P. ELLARD 18 U.S.C. §2
INDICTMENT
The Grand Jury charges:
INTRODUCTION

At all times material to this Indictment:

1. Defendant MICHAEL P. ELLARD, was a resident of the State of

Florida and was engaged in the business of buying and selling reptiles within Florida

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and throughout the United States. =
The Lacey Act nN =
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2. The Lacey Act Amendments of 1981, 16 U.S.C. § 3371 et seq, = O
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(hereinafter “the Lacey Act”), made it unlawful for any person to knowingly
transport, sell, receive, acquire, or purchase in interstate commerce any wildlife with
a value in excess of $350, taken, possessed, transported or sold, in violation of any

law or regulation of any State. 16 U.S.C. § 3372(a)(2)(A).

a. The Lacey Act defined the term “wildlife” to mean any wild
animal, whether alive or dead, including without limitation any wild mammal, bird,

reptile, amphibian, mollusk, crustacean, arthropod, coelenterate, or other
Case 2:19-cr-00028-SPC-MRM Document 3 Filed 02/27/19 Page 2 of 6 PagelD 6

invertebrate, whether or not bred, hatched, or born in captivity, and included any
part, product, egg, or offspring thereof. 16 U.S.C. § 3371(a).
b. The Lacey Act defined the term “taken” to mean “captured,
killed, or collected.” 16 U.S.C. § 3371g)(1).
State Law

3. Virginia Code § 29.1-564 prohibited the taking, transportation, and
possession of a species listed as endangered. Virginia Administrative Code, Title 4,
§ 15-20-130(B)(3) listed Wood Turtles as endangered. West Virginia Code of State
Rules § 58-73-3.2 prohibited the taking and possession of Wood Turtles.

COUNT ONE

On or about January 6, 2016, in the Middle District of Florida, the defendant,
MICHAEL P. ELLARD,

did knowingly engage in conduct that involved the intent to sell wildlife with a
market value in excess of $350.00, that is, Wood Turtles, and did knowingly
transport said wildlife in interstate commerce from the State of Virginia and State of
West Virginia to the State of Florida, knowing that said wildlife was taken and
possessed in violation of and in a manner unlawful under the laws and regulations of
the State of Virginia, specifically Virginia Code § 29.1-564, and the State of West
Virginia, specifically West Virginia Code of State Rules § 58-73-3.2.

All in violation of 16 U.S.C. § 3372(a)(2)(A), § 3373(d)(1)(B), and 18 U.S.C. §
Case 2:19-cr-00028-SPC-MRM Document 3 Filed 02/27/19 Page 3 of 6 PagelD 7

COUNT TWO

On or about March 26, 2016, in the Middle District of Florida, the defendant,
MICHAEL P. ELLARD,

did knowingly engage in conduct that involved the intent to sell wildlife with a
market value in excess of $350.00, that is, Wood Turtles, and did knowingly
transport said wildlife in interstate commerce from the State of Virginia and State of
West Virginia to the State of Florida, knowing that said wildlife was taken and
possessed in violation of and in a manner unlawful under the laws and regulations of
the State of Virginia, specifically Virginia Code § 29.1-564, and the State of West
Virginia, specifically West Virginia Code of State Rules § 58-73-3.2.

All in violation of 16 U.S.C. § 3372(a)(2)(A), § 3373(d)(1)(B), and 18 U.S.C. §

COUNT THREE
On or about April 13, 2016, in the Middle District of Florida, the defendant,
MICHAEL P. ELLARD,
did knowingly engage in conduct that involved the intent to sell wildlife with a
market value in excess of $350.00, that is, Wood Turtles, and did knowingly
transport said wildlife in interstate commerce from the State of Virginia and State of
West Virginia to the State of Florida, knowing that said wildlife was taken and
possessed in violation of and in a manner unlawful under the laws and regulations of
the State of Virginia, specifically Virginia Code § 29.1-564, and the State of West

Virginia, specifically West Virginia Code of State Rules § 58-73-3.2.
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Case 2:19-cr-00028-SPC-MRM Document 3 Filed 02/27/19 Page 4 of 6 PagelD 8

All in violation of 16 U.S.C. § 3372(a)(2)(A), § 3373(d)(1)(B), and 18 U.S.C. §

FORFEITURE

1. The allegations contained in Counts One through Three are
incorporated by reference for the purpose of alleging forfeiture pursuant to the
provisions of 16 U.S.C. § 3374 and 28 U.S.C. § 2461(c).

2. Upon conviction of a violation of 16 U.S.C. § 3372, the defendant shall
forfeit to the United States, pursuant to 16 U.S.C. § 3374 and 28 U.S.C. § 2461(c):

(a) All fish or wildlife or plants imported, exported, transported, sold,
received, acquired, or purchased contrary to the provisions of 16 U.S.C. § 3372, or
any regulation issued pursuant thereto; and

(b) All vessels, vehicles, aircraft, and other equipment used to aid in the
importing, exporting, transporting, selling, receiving, acquiring, or purchasing of fish
or wildlife or plants in a criminal violation of this chapter for which a felony
conviction is obtained shall be subject to forfeiture to the United States if (A) the
owner of such vessel, vehicle, aircraft, or equipment was at the time of the alleged
illegal act a consenting party or privy thereto or in the exercise of due care should
have known that such vessel, vehicle, aircraft, or equipment would be used in a
criminal violation of this chapter, and (B) the violation involved the sale or purchase
of, the offer of sale or purchase of, or the intent to sell or purchase, fish or wildlife or

plants.
Case 2:19-cr-00028-SPC-MRM Document 3 Filed 02/27/19 Page 5 of 6 PagelD 9

3. If any of the property described above, as a result of any act or omission
of the defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

C. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided
without difficulty,

the United States of America shall be entitled to forfeiture of substitute property
under the provisions of 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 2461(c)

and 18 U.S.C. § 982(b).

A TRUE BILL,
Lan Hol
Foreperson
MARIA CHAPA LOPEZ
United States Attorney

effre¥ F. Michelland
Assistant United States Attorney

By: blend. ano

leps M. Casas
sistant United States Attorney

Chief, Fort Myers Division

FORM OBD-34
February 19

Case 2:19-cr-00028-SPC-MRM Document 3 Filed 02/27/19 Page 6 of 6 PagelD 10
No. 2:19-cr-

UNITED STATES DISTRICT COURT
Middle District of Florida
Fort Myers Division

THE UNITED STATES OF AMERICA

VS.

MICHAEL P. ELLARD

INDICTMENT

Violations: 16 U.S.C. §§ 3373(a)(2(A), 3373(d)(1)(B) and 18 U.S.C. § 2

A true bill,

Foreperson

Filed in open court this 27th day

of February, 2019.

Clerk

Bail $

GPO 863 525
